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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA


  SLADJANA PERISIC, on behalf of Herself
  and others similarly situated,

              Plaintiff,

  vs.                                       Case No. 8:16-cv-03255-EAK-MAP

  ASHLEY FURNITURE INDUSTRIES, INC.,
  a Wisconsin corporation,

              Defendant.




              DEFENDANT ASHLEY FURNITURE INDUSTRIES, INC.’S
                   RESPONSE TO ORDER TO SHOW CAUSE
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        Pursuant to the Court’s August 15, 2018 Order to Show Cause [ECF No. 107], Defendant
 Ashley Furniture Industries, Inc. (“AFI”) respectfully responds that it takes no position on whether
 the Court has continuing jurisdiction.
                                                     Respectfully submitted,


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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on August 29, 2018, I caused the foregoing documents to be
 served on all counsel of record via CM/ECF system.

                                                      /s/ Mark D. Campbell
                                                          Mark D. Campbell




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